                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DMSION
                             NO. 5:20-CR-00246-D


UNITED STATES OF AMERICA

               v.

BENJAMIN MICHAEL LINEBERGER


                             ORDER OF FORFEITURE

      WHEREAS, pursuant to the entry of a plea of guilty by the defendant on

August 20, 2020 to a violation of 18 U.S.C. § 2252(a)(4)(B), and all other evidence of

record, the Court finds that the following personal property is hereby forfeitable

pursuant to 18 U.S.C. § 2253, to wit:

           •   Apple iPad mini 5, model 11.2, bearing serial number J211AP, seized

               from defendant on November 19, 2019, and

           •   Wiko Android Cell Phone, Model W-U300, IMEI 35279810116716;

      AND WHEREAS, by virtue of said finding, the United States is now entitled

to possession of said personal property, pursuant to Fed. R. Crim. P. 32.2(b)(3);

      It is hereby ORDERED, ADJUDGED and DECREED:

      1.       That based upon the Guilty Plea as to the defendant, Benjamin Michael

Lineberger, and all other evidence of record, the United States is hereby authorized

to seize the above-stated personal property, and it is hereby forfeited to the United

States for disposition in accordance with the law, including destruction, as allowed

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by Fed. R. Crim. P. 32.2(b)(3). In accordance with Fed. R. Crim. P. 32.2(b)(4)(A), this

Order will be final as to the defendant at sentencing.

       2.    That upon sentencing and issuance of the Judgment and Commitment

Order, the Clerk of Court is directed to incorporate a reference to this Order of

Forfeiture in the applicable section of the Judgment, as required by Fed. R. Crim. P.

32.2(b)(4)(B).
                                  ,/("'
      SO ORDERED. This .1L day of        J
                                      {J..flf.{O.rr, 202/.




                                        United States District Judge




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